                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION

In re                                     )
                                          )
Jesse Albert Moore                        )
                                          )                  No. 20-31195-KLP
         Debtor.                          )                  Chapter 13
__________________________________________)
                                          )
JESSE ALBERT MOORE, Debtor, and
CARL BATES, Trustee,                      )
                                          )
       Plaintiffs,                        )
v.                                        )                  A.P. No. _________________
                                          )
KIMBERLY L. BERRY,                        )
                                          )
       Defendant.                         )
__________________________________________)

                                           COMPLAINT

        NOW COME Jesse Albert Moore, Debtor, and Carl Bates, Trustee, Plaintiffs, through

counsel, and for their Complaint against Kimberly L. Berry, Defendant, states as follows:

GENERAL

        1.       This is a complaint to avoid fraudulent conveyances to the Defendant and to

recover the property conveyed pursuant to 11 U.S.C. §§ 544, 548 and 550, or its value.

        2.       On March 3, 2020 (the “Petition Date”), Jesse Albert Moore (the “Debtor”) filed

his voluntary petition for relief under Chapter 13 of the Bankruptcy Code.

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Counsel for Plaintiffs
         3.    Carl Bates was duly appointed as Chapter 13 Trustee on March 4, 2020 (Docket

No. 4), and he continues to serve in that capacity.

         4.    Defendant Kimberly L. Berry is a resident of the Commonwealth of Virginia,

presently residing at 495 Ravenscroft Dr., Prince George Va. 23805.

         5.    This Court has subject matter jurisdiction over this adversary proceeding under 28

U.S.C. §§ 157 and 1334.

         6.    Venue in this Court is proper pursuant to 28 U.S.C. § 1409. This is a core

proceeding.

         7.    The Plaintiffs consent to the entry of a final judgment by the Bankruptcy Court.

FACTUAL BACKGROUND

         8.    At the commencement of Mr. Moore’s Chapter 13 case he listed on his schedule

of assets an entity owned by Debtor known as 401 West Broad Street, LLC (“West Broad,

LLC”).

         9.    West Broad, LLC, was listed as a Virginia limited liability company with the

State Corporation Commission, (“SCC”). As of the Petition Date, the owner and sole member of

West Broad, LLC, was Mr. Moore.

         10.   Despite said registration with the SCC, West Broad, LLC, (hereinafter “West

Broad) was a shell company that originally held one parcel of real property (hereinafter the

“Commercial Building”) where debtor operated an automotive business as a separate company.

West Broad had never kept any books or records, maintained no bank accounts, and had never

filed tax returns or paid any taxes of any kind and was created as a holding company for the




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Commercial Building, which was sold in or about 2015. West Broad, which has since been

dissolved leaving Debtor Mr. Moore as its successor, is and was Mr. Moore’s alter ego.

       11.     In or about December 20, 2017, for no consideration, Debtor, purporting to act on

behalf of West Broad, executed a deed of gift to Defendant for 1800 N. 30th St., Richmond,

Virginia [the “30th St. Property”]. The deed was recorded on February 15, 2018.

       12.     The 30th St. Property remains titled of record to Defendant. Defendant has been

receiving rent in the approximate amount of $3000/month.

       13.     On or about March 28, 2018, Debtor, purporting to act on behalf of West Broad,

for no consideration, executed a deed of gift to Defendant for two properties, 2563 Glendale

Ave, Petersburg Va., and 705-A Fort Hayes Ct., Petersburg Va (the “Petersburg Properties”).

The deed was subsequently recorded.

       14.     On or about June 16, 2020, recorded June 28, 2020, Defendant re-conveyed the

2563 Glendale property to HHRE CEDAR PROPERTIES LLC for the reported consideration of

$73,000. On or about June 25, 2020, recorded July 17, 2020, Defendant re-conveyed the Fort

Hayes Ct. property to Matthew Hunter Perkins and Bret L. Gerner for the reported consideration

of $100,000.

       15.     In or about 2018, Debtor, for no consideration, executed a deed of gift to

Defendant for Lot 10, Block C, Section A, Chickahominy Bluffs HENRICO (the “Henrico

Property”. This deed was not recorded.

       16.     On or about March 28, 2018, Debtor, for no consideration, executed a deed of

gift to Defendant for Lot 11, Block B, Frederick Farms, Chesterfield (the “Chesterfield

Property”). This deed was not recorded.



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        17.    The Debtor was insolvent at the time of the aforementioned transfers, or was

rendered insolvent as a result thereof.

                                            COUNT ONE

                  AVOIDANCE AND RECOVERY OF FRAUDULENT
               TRANSFERS PURSUANT TO 11 U.S.C. §§ 548(a)(1)(B) and 550

        18.    The allegations of the paragraphs above are incorporated herein.

        19.    Pursuant to 11 U.S.C. § 548(a)(1)(B), the Trustee may avoid any transfer of an

interest of the Debtor in property, within two (2) years before the petition date, if the Debtor

received less than a reasonably equivalent value in exchange for such transfer, and if the transfer

was made while the Debtor was insolvent or the Debtor became insolvent as a result of such

transfer.

        20.    The Transfers were a transfer of an interest of the Debtor in property.

        21.    The Transfers (other than with respect to the 30th St. Property) were made within

two (2) years before the Petition Date.

        22.    The Debtor received less than a reasonably equivalent value for the Transfers.

        23.    The Debtor was insolvent at the time of the Transfers, or the Transfers rendered

the Debtor insolvent.

        24.    Pursuant to 11 U.S.C. § 550 (a)(1), to the extent that a transfer is avoided under

11 U.S.C. § 548, the trustee may recover, for the benefit of the estate, the property transferred, or

if the court so orders, the value of such property, from the initial transferee of such transfer.

        25.    Defendant is the initial transferee of the Transfers.




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                                           COUNT II
                              AVOIDANCE OF FRAUDULENT TRANSFERS
                          11 U.S.C. §§ 544(b) AND 550 AND VA. CODE §55.1-401

       26.     The allegations of the paragraphs above are incorporated herein.

       27.     As detailed above, Moore transferred assets to Defendant including, but not

limited to, the real properties referenced above.

       28.     Moore did not receive consideration deemed valuable in law in exchange for the

transfers, or they were transfers in consideration of marriage.

       29. The transfers were made at a time when Moore was insolvent, or he was rendered

insolvent thereby.

       30.     As a result of the transfers, Moore’s creditors sustained significant damages.

       31.     Debtor’s schedules reflect allowable claims for debts unpaid at the time of filing

the case that were contracted prior to the time of the transfers, including Cenlar Federal Savings

Bank, Loan Care, the Commonwealth of Virginia, and American Express.

       32.     The transfers are avoidable and recoverable from Defendant pursuant to 11 U.S.C.

§§ 544(b)(1) and 550 and Va. Code §55.1-401.



                                            COUNT III
                               AVOIDANCE OF UNRECORDED TRANSFERS
                                      11 U.S.C. §§ 544(a) AND 550

       33.     The allegations of the paragraphs above are incorporated herein.

       34.     As detailed above, Moore transferred assets to Defendant including, but not

limited to, the Henrico and Chesterfield properties referenced above.




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        35.    The deeds for the Henrico and Chesterfield properties were not recorded pre-

petition.

        36.    The unrecorded deeds would as a matter of law be voidable by a bona fide

purchaser of the real property that has perfected the purchase transfer at the time of

commencement of the case, and are thus avoidable by the Trustee under 11 U.S.C. § 544(a)(3).

        32.    As such, the transfers are avoidable and recoverable from Defendant pursuant to

11 U.S.C. §§ 544(a)(3) and 550.


WHEREFORE, Plaintiffs demand judgment against Defendant (a) avoiding the transfers of the

Petersburg, Henrico and Chesterfield properties under 11 U.S.C. § 548(a)(1)(B); (b) avoiding all

of the subject transfers under 11 U.S.C. § 544(b) and Va. Code § 55.1-401; (c) avoiding the

transfers of the Chesterfield and Henrico properties under 11 U.S.C. § 544(a)(3); (c) for the

recovery from Defendant of the property transferred and avoided, or a money judgment for the

value thereof, plus all rents received, under 11 U.S.C. § 550; and (d) for the costs of this action, a

reasonable attorney’s fee, and such other relief as may be just and proper.

        Dated: July 26, 2021.

                                               Respectfully submitted,


                                               __/s/ Daniel M. Press ________
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